                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


WAYNE BALIGA, derivatively on behalf of
LINK MOTION INC. (F/K/A NQ MOBILE INC.)                     Case No.: 1:18-cv-11642-VM-DCF

                              Plaintiff,
               -against-

LINK MOTION INC. (F/K/A NQ MOBILE INC.),
VINCENT WENYONG SHI, JIA LIAN, XIAO YU,

                              Defendants,
               -and-

LINK MOTION INC. (F/K/A NQ MOBILE INC.),

                               Nominal Defendant.


                            DECLARATION OF JAKE NACHMANI

I, Jake Nachmani, declare as follows:

       1.      I am a senior associate at the law firm Seiden Law Group, LLP, which is counsel

of record for Plaintiff in the above captioned matter. I am admitted to practice before the courts

of the State of New York.

       2.      I make this declaration in support of Plaintiff’s Opposition to the Motion to

Intervene by China AI Capital Limited (“China AI”).

       3.      I make this declaration based on my own personal knowledge, and, if called upon

to do so, could and would testify competently thereto.

       4.      Attached as Exhibits 1 through 6 are true and correct copies of the following

documents:

            Exhibit 1: A May 2, 2020 letter submitted to the Court by Link Motion Inc.’s
                       temporary receiver, Robert Seiden.
        Exhibit 2:      Link Motion Inc.’s Shareholder Registry, as of May 4, 2020.

        Exhibit 3:      A copy of Schultz v. Reynolds and Newport Ltd, 1992-93 CILR 59.

        Exhibit 4:      A copy of Svanstrom v. Jonasson, 1997 CILR 192.

        Exhibit 5:      A copy of Zabusky & Ors v Virgtel Ltd & Ors [2012] QCA 107.

        Exhibit 6:      A copy of Link Motion Inc.’s Deposit Agreement as of April 15, 2011.


        I declare under penalty of perjury that the foregoing is, to the best of my knowledge and

belief, true and correct.

        Dated: May 4, 2020
        New York, New York

                                                     SEIDEN LAW GROUP LLP


                                                     /s/ Jake Nachmani
                                                     Jake Nachmani
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                                                     Counsel for Plaintiff Baliga
